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         Exhibit 2
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User ID: 3a18748f‐cc67‐44e6‐897a‐7116eed28294
Username: volfprius
Email Address: volf.prius@hotmail.com
Account Status: expired
Date Registered: 2011‐10‐08 03:09:50
Last Login Date: 2011‐11‐24 11:32:15

         TOP 5 IP ADDRESSES USED:
         IP 212.117.160.123 used 4 time(s) between 2011‐11‐24 00:25:12 and
2011‐11‐24 11:32:15
         IP 189.47.194.196 used 2 time(s) between 2011‐10‐08 13:23:55 and 2011‐10‐08
13:23:55
         IP 61.19.252.148 used 2 time(s) between 2011‐10‐08 13:36:16 and 2011‐10‐08
13:36:16
         IP 199.48.147.36 used 1 time(s) between 2011‐10‐08 03:12:21 and 2011‐10‐08
03:12:21
[See ip_log.csv]

        TRANSACTION RECORDS:
[See transactions.csv]
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User ID: 908f8fe5‐d8bb‐4e7b‐a7e9‐d1120c78b5b7
Username: roso987341870
Email Address: plasma@plasmadivision.com
Account Status: valid
Date Registered: 2011‐09‐29 07:28:28
Last Login Date: 2014‐02‐24 21:47:46

        USER AML:
[See user_aml.csv]

           TOP 5 IP ADDRESSES USED:
           IP 83.248.132.4 used 108 time(s) between 2012‐07‐05 15:04:33 and 2013‐09‐04
21:22:36
           IP 83.254.53.11 used 21 time(s) between 2011‐09‐29 07:31:19 and 2011‐11‐27
01:12:13
           IP 83.248.128.36 used 8 time(s) between 2014‐02‐12 11:29:30 and 2014‐02‐24
21:47:46
           IP 91.213.87.3 used 5 time(s) between 2011‐10‐19 01:24:11 and 2011‐10‐19
01:33:20
        IP 178.151.18.222 used 4 time(s) between 2012‐08‐25 05:32:20 and 2012‐08‐25
19:52:44
[See ip_log.csv]

        USER ADMIN COMMENTS:
[See admin_comments.csv]

        USER BANK ACCOUNTS:
[See bank_accounts.csv]

        TRANSACTION RECORDS:
[See transactions.csv]

        COUPON SUMMARY:
        Created 4 coupon(s) totaling 243.00 in USD
[See coupons.csv]

        USER UPLOAD FILES:
[See folder user_upload_files]

           User File ID: 70ff224a‐ad82‐41ac‐b092‐88760e001d5f
           Filename: 5b36e083345752e7fbecdf41f708d6a24c021071__scan_id_unedited.jpg
           Mime Type: image/jpeg
           Description: AML: Identity Proof
           Size: 1413929
           SHA1 Hash: 5b36e083345752e7fbecdf41f708d6a24c021071

           User File ID: eecd1914‐fffa‐46a1‐9f78‐5f7d24a92fda
           Filename: 5f6e97684232ba696660cbdf92eb45e4a98a6f26__scan_utility.jpg
           Mime Type: image/jpeg
           Description: AML: Residence Proof
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Size: 1493147
SHA1 Hash: 5f6e97684232ba696660cbdf92eb45e4a98a6f26
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User ID: a16d5abe‐2308‐469e‐baf7‐274cc4177ff9
Username: peternfs
Email Address: nfs9000@hotmail.com
Account Status: expired
Date Registered: 2011‐10‐09 01:09:26
Last Login Date: 2011‐11‐28 10:06:10

           TOP 5 IP ADDRESSES USED:
           IP 81.13.56.222 used 9 time(s) between 2011‐10‐19 21:38:00 and 2011‐10‐19
23:06:20
           IP 217.73.161.146 used 7 time(s) between 2011‐10‐09 01:38:45 and 2011‐10‐09
11:39:46
         IP 212.117.160.123 used 6 time(s) between 2011‐11‐24 14:51:21 and
2011‐11‐28 10:06:10
         IP 212.16.7.171 used 2 time(s) between 2011‐10‐25 13:39:55 and 2011‐10‐25
13:39:55
[See ip_log.csv]

        TRANSACTION RECORDS:
[See transactions.csv]

        COUPON SUMMARY:
        Created 3 coupon(s) totaling 122.14 in BTC
[See coupons.csv]
            Case 1:21-cr-00399-RDM Document 140-2 Filed 06/21/23 Page 6 of 7



User ID: d7057509‐c8a2‐4210‐8cfb‐af51b049fb2a
Username: kolbasa
Email Address: kolbasa99@rambler.ru
Account Status: expired
Date Registered: 2011‐10‐09 14:31:29
Last Login Date: 2011‐11‐29 08:39:16

           TOP 5 IP ADDRESSES USED:
           IP 70.90.169.13 used 7 time(s) between 2011‐10‐20 00:41:45 and 2011‐10‐20
07:00:22
           IP 95.168.163.228 used 5 time(s) between 2011‐10‐09 14:48:20 and 2011‐10‐10
14:04:30
         IP 212.117.160.123 used 4 time(s) between 2011‐11‐28 23:58:43 and
2011‐11‐29 08:39:16
         IP 212.16.7.171 used 2 time(s) between 2011‐10‐25 13:40:28 and 2011‐10‐25
13:40:28
[See ip_log.csv]

        TRANSACTION RECORDS:
[See transactions.csv]

        COUPON SUMMARY:
        Created 2 coupon(s) totaling 183.00 in USD
        Redeemed 3 coupon(s) totaling 122.14 in BTC
[See coupons.csv]
         Case 1:21-cr-00399-RDM Document 140-2 Filed 06/21/23 Page 7 of 7



User ID: ff0b1ee6‐1af1‐43ef‐9a19‐6607ae58cf51
Username: aurumxchange
Email Address: admin@aurumxchange.com
Account Status: expired
Date Registered: 2011‐02‐11 00:13:28
Last Login Date: 2013‐08‐28 21:34:48

        USER METADATA:
[See user_metadata.csv]

         TOP 5 IP ADDRESSES USED:
         IP 46.165.208.203 used 408 time(s) between 2013‐02‐21 22:36:25 and
2013‐07‐01 19:35:01
         IP 94.75.220.77 used 337 time(s) between 2011‐06‐27 21:55:16 and 2012‐03‐27
19:01:19
         IP 46.21.99.26 used 239 time(s) between 2012‐04‐20 11:01:44 and 2013‐05‐15
01:21:10
         IP 95.211.92.237 used 224 time(s) between 2012‐12‐11 03:42:10 and
2013‐03‐25 17:26:00
         IP 85.17.31.120 used 176 time(s) between 2013‐01‐19 16:01:40 and 2013‐03‐22
18:38:18
[See ip_log.csv]

        USER ADMIN COMMENTS:
[See admin_comments.csv]

        USER BANK ACCOUNTS:
[See bank_accounts.csv]

        TRANSACTION RECORDS:
[See transactions.csv]

        COUPON SUMMARY:
        Created 3,743 coupon(s) totaling 3,003,380.39 in USD
        Created 4 coupon(s) totaling 98.05 in BTC
        Redeemed 21,673 coupon(s) totaling 9,215,630.49 in USD
        Redeemed 1 coupon(s) totaling 280.00 in AUD
        Redeemed 5 coupon(s) totaling 99.05 in BTC
[See coupons.csv]
